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             ORAL ARGUMENT HELD DECEMBER 14, 2022

                               Case No. 21-5265
                          (Consolidated with 22-5022)

          IN THE UNITED STATES COURT OF APPEALS FOR
             FOR THE DISTRICT OF COLUMBIA CIRCUIT

    WEST FLAGLER ASSOCIATES, LTD., a Florida Limited Partnership,

       BONITA-FORT MYERS CORPORATION, a Florida Corporation
               d/b/a BONITA SPRINGS POKER ROOM,
                         Plaintiffs-Appellees,

                                        v.

        DEBRA HAALAND, in her official capacity as Secretary of the
               United States Department of the Interior,

                     UNITED STATES DEPARTMENT OF
                             THE INTERIOR,
                           Defendants-Appellees,

                                       and

                     THE SEMINOLE TRIBE OF FLORIDA
                         Putative Intervenor-Appellant

   On appeal from the United States District Court for the District of Columbia
            Case No. 1:21-cv-02192-DLF (Hon. Dabney Friedrich)

APPELLEES’ MOTION TO STAY MANDATE PENDING PETITION FOR
                  WRIT OF CERTIORARI

                                                  Boies Schiller Flexner LLP
                                                  1401 New York Avenue, NW
                                                  Washington, DC 20005
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          Pursuant to Fed. Rule App. P. 41(d)(1), Appellees West Flagler Associates,

    Ltd., and Bonita-Fort Myers Corporation, respectfully request that this Court stay

    the issuance of its mandate pending disposition of their forthcoming petition for a

    writ of certiorari. See Fed. R. App. P. 41(d)(2)(B)(ii). The mandate is presently set

    to be issued on September 18, 2023. Appellees further request that, if the motion is

    denied, the Court stay issuance of the mandate for a reasonable period to permit

    Appellees to seek a stay from the Supreme Court.

                                     INTRODUCTION

          In this case, the Panel Opinion presents an important question on which

    Appellees intend to seek Supreme Court review as to the scope of the Indian Gaming

    Regulatory Act (“IGRA”), 25 U.S.C. §§ 2701 et seq. Reversing the judgment of the

    District Court setting aside the Secretary’s approval of a tribal gaming compact between

    the State of Florida and the Seminole Tribe, the Panel Opinion held that a tribe and

    state may use the process set forth in IGRA to grant exclusive statewide Internet

    gaming franchises to Indian tribes. This understanding contradicted Congress’ clear

    intent in enacting IGRA which was to provide for gaming “on Indian lands,” not to

    provide a means to introduce Internet gaming statewide.1 The Panel Opinion further



1
    As the Supreme Court held in Michigan v. Bay Mills Indian Community, 572 U.S.
    782, 795 (2014): “Everything—literally everything—in IGRA affords tools . . . to
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authorizes the Secretary to provide such approval even where—as here—the law of

the state prohibits the type of gambling in question if conducted off Indian lands.

These holdings depart from all other courts’ interpretation of IGRA and allow for its

misuse in a manner that Congress did not and could not have intended. As such, it

raises a “substantial question” warranting Supreme Court review. Fed. R. App. P.

41(d)(1).

      Similarly, the holding of the Panel Opinion that rational basis scrutiny applies

to the Secretary’s federal approval of a state government’s award of a statewide

gaming monopoly based on race and ancestry is a “substantial question” warranting

Supreme Court review. This holding conflicts with the opinion of the Ninth Circuit

in Williams v. Babbitt, 115 F.3d 657 (9th Cir. 1997), in which the court held that

strict scrutiny should apply to a rule excluding non-natives from the Alaskan

reindeer industry because the industry was “not uniquely native,” and the preference

“in no way relate[d] to native land, tribal or communal status, or culture.” Id. at 664.

It also is at odds with existing Supreme Court precedent in Morton v. Mancari, 417

U.S. 535, 554 (1974), in which the Court upheld hiring preferences for Indians in

the Bureau of Indian Affairs, but solely because such preferences were “reasonable

and rationally designed to further Indian self-government” and could “be tied




regulate gaming on Indian lands, and nowhere else.”

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rationally to the fulfilment of Congress’ unique obligation toward the Indians.” 417

U.S. at 555. Neither rationale is present here. Finally, the propriety of tribal

preferences in and of itself is a question of exceptional importance, as recently

recognized by Supreme Court Justice Kavanaugh. See, e.g., Haaland v. Brackeen,

143 S. Ct. 1609, 1661 (2023) (Kavanaugh, J., concurring) (“In my view, the equal

protection issue is serious.”).

       There is also “good cause” for the requested stay under Fed. R. App. P. 41(d)(1)

as a matter of public policy. Unless the mandate is stayed, this Court’s decision will

upset the status quo in the entirety of Florida by permitting the Tribe to conduct

online sports gaming throughout the State where no such gaming previously has

been permitted and where the Florida constitution requires that any expansion of

gaming within the State be subject to a citizens’ initiative with 60% of the vote. See

FLA. CONST. Art. X § 30(a). Moreover, the Panel Opinion’s unprecedented

interpretation of IGRA may well be used by other states and tribes as a blueprint for

expanding gaming outside of Indian lands where such gaming generally is not

permitted in a state. The Panel Opinion thus enables an extreme shift in public policy

on legalized gaming that, once started, may be difficult to stop. It therefore is in the

public interest to preserve the status quo with respect to online gaming until such

time as the Supreme Court has had a chance to review Appellees’ petition for a writ

of certiorari.

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           Appellees also will be irreparably harmed by issuance of the mandate. Bonita2

    operates brick and mortar gaming operations in Florida and competes with the Tribe

    for customers. JA 559. Bonita further submitted evidence that at a minimum, 10%–

    16% of its customers will shift some of their existing business to online sports

    gaming that can be offered only by the Tribe, and that it will incur substantially

    increased expenditures, suffer lost goodwill and suffer additional damages that it

    likely could not recover from the Tribe due to sovereign immunity issues. JA297–

    300.

           Nor is there any harm to Appellants from a stay: The Secretary has never

    argued that it will suffer harm from the continued vacatur of its approval. JA458–

    68. The Tribe, although it is an Appellant by virtue of its appeal regarding its motion

    to intervene, was not successful in its arguments either before the District Court,

    JA566–71, or this Court, Op. 23, and therefore cannot claim harm here. Moreover,

    the Tribe has no right to conduct unlawful gaming and can suffer no harm from the

    inability to engage in unlawful conduct.




2
    Since the inception of this action, Appellee West Flagler sold its Miami-based Magic
    City Casino to the Poarch Tribe. West Flagler continues to maintain interests in
    Florida gaming operations, including jai alai.

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                   STATEMENT OF FACTS AND BACKGROUND

          On August 11, 2021, pursuant to IGRA, the Secretary approved 3 a tribal-state

    compact between Florida and the Tribe that among other things, granted the Tribe a

    monopoly over online sports betting both on the Tribe’s lands and throughout the

    State. To get around IGRA’s limitation to gaming “on Indian lands,” the Tribe and

    State relied on contractual and legislative provisions “deeming” the location of

    electronic bets to occur solely at the place those bets are received—on the Tribe’s

    servers on Indian lands. JA692 (Part IV.A); see also JA687 (Part II.CC.2).

          Because the Supreme Court has held that “Everything—literally everything—

    in IGRA affords tools (for either state or federal officials) to regulate gaming on

    Indian lands, and nowhere else,” Bay Mills, 572 U.S. at 795, on August 16, 2021,

    Appellees filed this Administrative Procedure Act case to challenge the Secretary’s

    approval. JA12. The District Court granted summary judgment to Appellees, finding

    the “deeming” language to be a “fiction,” and set aside the Secretary’s approval of

    the Compact. JA573.

          On June 30, 2023, this Court reversed. The Panel Opinion significantly

    expanded the existing scope of IGRA by holding that an IGRA Compact can include




3
    The Secretary approved the Compact through inaction after 45 days, as permitted by
    25 U.S.C. § 2710(d)(8)(C)).

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(but not specifically “authorize”) an agreement for a tribe to conduct gaming off

Indian lands, so long as the Compact also includes and authorizes provisions for

gaming on Indian lands. Op. 10. The Panel Opinion also held that the grant of a

statewide monopoly on gaming on the basis of race or ancestry was subject only to

rational basis scrutiny. Op. 20.

      On August 14, 2023, Appellees filed a petition for rehearing en banc, which

this Court denied on September 11, 2023. Absent a stay, the mandate will be issued

on September 18, 2023. See Fed. R. App. P. 41(b).

                                   ARGUMENT

      To obtain a stay of the mandate “pending the filing of a petition for a writ of

certiorari in the Supreme Court,” a movant “must show that the [certiorari] petition

would present a substantial question and that there is good cause for a stay.” Fed. R.

App. P. 41(d)(1). This requires a party to demonstrate a reasonable probability of

succeeding on the merits and injury absent a stay. See, e.g., United States v. Warner,

507 F.3d 508, 510–11 (7th Cir. 2007) (Wood, J., in chambers); Nara v. Frank, 494

F.3d 1132, 1133 (3d Cir. 2007); California v. Am. Stores Co., 492 U.S. 1301, 1307

(1989) (O’Connor, J., in chambers).

      Appellees meet this standard here. This case raises substantial legal issues of

the type appropriate for Supreme Court review, including the propriety of a novel

expansion of federal statutory law regarding Indian gaming and a Constitutional

                                          6
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question regarding the propriety of tribal preferences under the Equal Protection

Clause. In addition, without a stay of the mandate, the Tribe shortly will effect a major

expansion of gaming in Florida by releasing a mobile phone application that will

permit online sports betting throughout the state. Although Supreme Court review

could later result in the Tribe’s discontinuance of such gaming, the interim harm

caused by the conduct of unlawful gaming in Florida against the wishes of Florida

voters cannot be undone. See Texas v. Ysleta del Sur Pueblo, 2018 WL 1566866, at

n.13 (W.D. Tex. Mar. 29, 2018) (“The alleged beneficial impact of revenue from [a

casino] does not entitle [the Tribe] to engage in illegal activity to ensure the facility’s

viability.”), rev’d on other grounds, 152 S. Ct. 1929 (2022).

       A. The Panel Opinion Raises “Substantial Questions” of Law

       Appellees’ forthcoming petition for certiorari will present “substantial

question[s]” for the Supreme Court’s review on which Appellees have at least a

reasonable probability of success. Fed. R. App. P. 41(d)(1).

          1. The Panel’s Interpretation of IGRA Significantly Expands IGRA’s
             Scope and Authorizes Significant Expansions of Legalized Betting
             Throughout the Country

       First, the Panel Opinion raises important questions regarding the

interpretation of federal statutory law and its impact on important public policy

concerns. Prior to the Panel Opinion, no IGRA case ever had interpreted the statute

to permit the Secretary to approve a compact purporting to authorize gaming off


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    Indian lands, thereby largely limiting the public policy impact of IGRA to tribal

    lands. Now, however, the Secretary may properly approve a compact between a tribe

    and multiple states for a multi-state gaming operation so long as any portion of the

    gaming at issue occurs “on Indian lands.” The Panel Opinion premised this

    expansion of IGRA law on two theories, both of which shoehorn a statewide

    expansion of gaming into a narrow statutory list of specific ancillary subject matters

    that may be included in a tribal-state compact. The Panel Opinion reasoned that the

    statewide, off-reservation gaming contracted for in the Compact is: 1) an “allocat[ion

    of] jurisdiction between Florida and the Tribe” under 25 U.S.C. § 2710(d)(3)(C)(i)–

    (ii), Op. 11; and/or 2) permitted under a residual catch-all clause for the permitted

    ancillary matters that permits provisions on “any other subject that are directly

    related to the operation of gaming activities,” under 25 U.S.C. § 2710(d)(3)(C)(vii),

    Op. 13. 4 Either way, the Panel Opinion reasons, the Compact merely “discusses,”

    but does not “authorize” gaming off Indian lands, thereby falling outside the scope



4
  The placement of an online wager from off Indian lands is not “directly related to”
gaming. Rather it is the gaming itself. The federal government has repeatedly taken the
position that a wager occurs both where made and where received. See, e.g., Br. for the
United States of America as Amicus Curiae Supporting Appellee, Coeur d’Alene Tribe
v. AT&T Corp., 1999 WL 33622333, at *13–14 (9th Cir. Case No. 99-35088, July 20,
1999) (“It follows that ‘wagering,’ ‘gambling,’ or ‘gaming’ occur in both the location
from which a bet, or ‘offer,’ is tendered and the location in which the bet is accepted
or received.”). The Panel’s Opinion, however, fails to recognize this inconsistency.


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    of IGRA. Op. 12. No case has ever read these provisions so expansively, and the

    Opinion therefore diverges from other Circuits’ precedent. See Chicken Ranch

    Rancheria of Me-Wuk Indians v. California, 42 F.4th 1024, 1034 (9th Cir. 2022);

    Navajo Nation v. Dalley, 896 F.3d 1196, 1205 n.4 (10th Cir. 2018); Flandreau

    Santee Sioux Tribe v. Noem, 938 F.3d 928, 935 (8th Cir. 2019).5

          This novel interpretation of IGRA lays the groundwork for future abuses of

    IGRA, as a tribe and state now may use an IGRA compact to expand tribal gaming

    throughout an entire state, and the Secretary has no obligation to disapprove—or

    even question—the propriety of that agreement. Although the Panel Opinion

    suggests that state courts may review the propriety of such an agreement, Op. 16–

    17, tribes may well successfully assert sovereign immunity to avoid any such

    inquiry, (see Tribe’s Principal Br., Doc # 1959733), thereby permitting state officials

    and tribes to use the federal IGRA process to circumvent state restrictions on

    expansions of gaming.

          The Panel Opinion reasons that the Secretary cannot control what gaming

    Florida permits on non-Indian lands within its borders. Op. 16–17. But that is not



5
  The Panel’s reading of the Compact also contradicts the Compact’s plain text. See
JA692 (providing that the “Tribe and State agree that the Tribe is authorized to operate
Covered Games on its Indian lands, as defined in [IGRA]” (emphasis added)); JA676,
687 (defining “Covered Games” to include “Sports Betting,” which in turn is defined
to include online, off-reservation wagering from anywhere in the State).

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the same question as whether Florida and the Tribe may use the statutory IGRA

process, which includes Secretarial approval, to contract for that off-reservation

gaming. An agreement to give the Tribe a monopoly over gaming in the entire state

certainly does not belong in an IGRA compact. Nor should the Secretary allow the

federal statutory compacting process to become a vehicle for state officials to defeat

the will of their citizens, which is the effect of the Panel’s decision here.

      This holding also contradicts the Supreme Court holding that “Everything—

literally everything—in IGRA affords tools (for either state or federal officials) to

regulate gaming on Indian lands, and nowhere else.” Bay Mills, 572 U.S. at 795. The

Panel interprets Bay Mills as permitting a state to contract with a tribe for off-

reservation gaming. Op. 4. But Bay Mills holds only that IGRA’s abrogation of tribal

sovereign immunity does not apply to gaming off Indian lands, 572 U.S. at 785, not

that the IGRA compacting process is an appropriate vehicle for a state and tribe to

agree to such gaming.

      Whether IGRA is properly interpreted to permit such ruses is a substantial

question of federal statutory interpretation appropriate for Supreme Court review

with important public policy implications for state and tribal relations, and for the

propriety of mass expansions of legalized gaming operations.




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          2. The Panel’s Analysis of the Propriety of the Tribal Preference
             Granted by the Compact Departs from Existing Law Regarding
             Tribal Preferences

      Second, the Panel’s application of rational basis review to Appellees’ claims

under the Equal Protection Clause also raises a question of substantial importance

that is appropriate for Supreme Court review. The Panel Opinion holding, Op. 20,

concerns the propriety of tribal preferences—an issue recently acknowledged by the

Supreme Court as one of exceptional importance. See, e.g., Haaland, 143 S. Ct. at

1661 (Kavanaugh, J., concurring) (“In my view, the equal protection issue is

serious.”). Both the Compact and Implementing Law award a statewide monopoly

to the Tribe on the basis of race and ancestry and to further that monopoly, create a

criminal law structure that applies to gaming off of Indian lands also based upon

race and ancestry. FLA. STAT. § 849.14; FLA. STAT. § 849.142(1); JA692, JA676,

JA687. No prior case has ever permitted such preferences under the Equal Protection

Clause.

      The Panel Opinion’s expansive Equal Protection holding consists of only a

cursory analysis, Op. 20, that conflicts with the decision of the Ninth Circuit in

Babbitt, 115 F.3d 657. Babbitt—which was not discussed in the Panel Opinion—

held that strict scrutiny should apply to a rule excluding non-natives from the

Alaskan reindeer industry, id. at 664, 666, because the industry was “not uniquely

native,” and the preference “in no way relate[d] to native land, tribal or communal

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    status, or culture,” id. at 664.

           The Panel Opinion also is at odds with existing Supreme Court precedent in

    Mancari, 417 at 554, in which the Court upheld hiring preferences for Indians in the

    Bureau of Indian Affairs only on the basis that such preferences were “reasonable

    and rationally designed to further Indian self-government” and could “be tied

    rationally to the fulfilment of Congress’ unique obligation toward the Indians.” Id.

    at 555. Neither rationale is present here. Consistent with Babbitt and Mancari, prior

    courts considering tribal preferences have applied rational basis review only to

    preferences tied to Indian lands, to uniquely sovereign interests, or to the special

    relationship between the federal government and Indian tribes.6

           The Panel Opinion’s expansion of tribal preferences to permit disparate

    treatment in off-reservation commercial activity and the application of criminal laws

    based on race and ancestry is a question of substantial importance that is appropriate




6
    See United States v. Antelope, 430 U.S. 641, 646 (1977) (federal regulation of
    criminal conduct within Indian country); Moe v. Confederated Salish & Kootenai
    Tribes, 425 U.S. 463, 480 (1976) (tax “on personal property located within the
    reservation,” fee “applied to a reservation Indian conducting a cigarette business
    for the Tribe on reservation land,” and tax on “on-reservation sales by Indians to
    Indians”); Fisher v. District Court, 424 U.S. 382, 389 (1976) (on-reservation
    adoption proceedings); United States v. Garrett, 122 F. App’x 628, 631 (4th Cir.
    2005) (gaming on tribal lands); Artichoke Joe’s Cal. Grand Casino v. Norton, 353
    F.3d 712, 735 n.16 (9th Cir. 2003) (same and holding that limitation to Indian
    lands is “critical”).

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for Supreme Court review.

      B. Good Cause Exists for the Requested Stay

         1. The Panel Opinion Authorizes a Significant Change in Public
            Policy Regarding Legalized Gaming that Implicates the Public
            Interest

      Good cause for a stay exists here because the Panel Opinion authorizes a

substantial shift in Florida’s public policy regarding the expansion of legalized

gambling, and further provides a blueprint for other states to do the same. In 2018,

Florida voters spoke: they passed a constitutional amendment requiring “a vote by

citizens’ initiative”—a statewide referendum—“for casino gambling to be

authorized under Florida law.” FLA. CONST. art. X, § 30(a) (“Voter Control of

Gambling in Florida”). That amendment, although a creature of state law,

incorporates federal law, i.e., IGRA, by carving out an exemption to the general

prohibition on expansions of gaming for “gaming compacts [negotiated] pursuant to

the Federal Indian Gaming Regulatory Act for the conduct of casino gambling on

tribal lands.” Id. at § 30(c). The Compact, as interpreted under the Panel Opinion,

permitted the Tribe and Florida officials to circumvent the Florida constitution by

shoehorning the off-Indian land sports gaming provisions into the IGRA exception

to the Florida Constitution.

      That Florida and the Tribe likely will argue that these acrobatics are

permissible under Florida law (even if engineered specifically to avoid state judicial


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    scrutiny) is beside the point for purposes of this motion. There is no doubt that, upon

    the issuance of the mandate in this matter, the Tribe will commence a statewide

    online sports betting operation accessible to every adult located in Florida. JA510–

    20.7 Florida’s citizens have not authorized this major shift in public policy. If either

    the Supreme Court or a Florida court determines in the future that the Tribe and

    Florida officials acted unlawfully, Florida’s citizenry will have been irreparably

    harmed by the conduct of a wide-spread illegal gaming operation in the interim. See,

    e.g., Murphy v. Nat’l Collegiate Athletic Ass’n, 138 S. Ct. 1461, 1483 (2018)

    (interpreting federal law to “respect the policy choices of the people of each State

    on the controversial issue of gambling”); id. at 1484 (“The legalization of sports

    gambling is a controversial subject.”). Moreover, if the unlawful gaming is permitted

    to commence on a statewide basis, it will be difficult to unwind that action if the

    Compact is later found to have been unlawful. The transformative nature of

    legalizing sports betting by any adult with a mobile device in Florida is not an egg

    that can be easily unscrambled.




7
    There is also the possibility that other states and tribes may seek to abuse the IGRA
    approval process to further expand online gaming operations across state lines
    following the Panel decision.
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         2. Bonita Will Be Irreparably Harmed by the Tribe’s Statewide
            Monopoly on Online Sports Betting

      If the Tribe is permitted to launch a statewide online sports betting operation,

Bonita (and other non-tribal operators of gaming facilities who are foreclosed from

entering the lucrative online sports betting market) will be irreparably harmed.

Bonita will suffer lost revenue and profits, increased expenses, and diminished

goodwill. Sworn testimony established below that at least 10%–16% of Bonita’s

customers will shift business to the new Compact-created statewide tribal monopoly.

JA297. Such irreparable harm provides good cause to stay the mandate. See also

Quality Carriers, Inc. v. MJK Distrib., Inc., 2002 WL 506997, at *12 (S.D. Ill. Apr.

3, 2002) (finding irreparable harm in business where “goodwill takes years to build

up and only seconds to lose”).

      To be sure, courts routinely reject economic harm as reparable through

litigation. See Sampson v. Murray, 415 U.S. 61, 61–62 (1974). But the economic

nature of Bonita’s harm is immaterial where—as here—sovereign immunity would

preclude it from recovering damages. See Bowen v. Massachusetts, 487 U.S. 879,

893 (1988); Kiowa Tribe of Okla. v. Mfg. Techns., Inc., 523 U.S. 751, 760 (1998);

Gamble v. Fla. Dep’t of Health & Rehab. Servs., 779 F.2d 1509, 1512 (11th Cir.

1986). If “the plaintiff in question cannot recover damages from the defendant due

to the defendant’s sovereign immunity . . . any loss of income suffered by a plaintiff

is irreparable per se.” Feinerman v. Bernardi, 558 F. Supp. 2d 36, 51 (D.D.C. 2008)
                                         15
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(citing United States v. New York, 708 F.2d 92, 93–94 (2d Cir. 1983)). Bonita’s harm

is therefore completely cognizable—and even compelling—for purposes of

equitable relief.

          3. Appellants Will Not Be Harmed by a Stay of the Mandate, and the
             Public Interest Favors Preservation of the Status Quo

      Appellants would not be prejudiced by a stay, and the public interest favors

allowing Appellees a full opportunity to seek Supreme Court review before the Tribe

launches unlawful gaming activities while the case is pending.

      First, the Secretary and Department of the Interior will not be harmed by the

proposed stay. In the context of a stay, assessing the harm to the opposing party and

weighing the public interest “merge when the Government is the opposing party.”

Nken v. Holder, 556 U.S. 418, 435 (2009). As discussed in Section B1 above, there

is a strong public interest in not permitting an illegal gaming scheme to begin

operations where doubt over its legitimacy exists. Moreover, governmental

compliance with federal law is in the public interest. Cath. Legal Immigr. Network,

Inc. v. Exec. Off. for Immigr. Rev., 513 F. Supp. 3d 154, 176 (D.D.C. 2021).

Accordingly, “there is generally no public interest in the perpetuation of unlawful

agency action.” League of Women Voters v. Newby, 838 F.3d 1, 13 (D.C. Cir. 2016)

(collecting cases); accord Nw. Immigrant Rts. Project v. U.S. Citizenship & Immigr.

Servs., 496 F. Supp. 3d 31, 81–82 (D.D.C. 2020). Here, the Compact creates a

gambling scheme that violates state and federal laws and makes unwitting bettors
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into accomplices in the violations of those laws.

      Second, the Tribe has no standing to claim harm from the stay sought by

Appellees. Although the Tribe moved to intervene in this litigation, that motion to

intervene was denied by the District Court, JA566–71, a decision affirmed by the

Panel Opinion, Op. 23. Moreover, even if it were entitled to assert a claim of harm

from delaying the launch of its online gaming operation, that harm would be solely

economic in nature. It is well settled that “[e]conomic loss does not, in and of itself,

constitute irreparable harm,” Randolph-Sheppard Vendors of Am. v. Weinberger,

795 F.2d 90, 108 (D.C. Cir. 1986) (citation omitted). Here, no amount of economic

harm claimed by the Tribe can overcome the strong public interest “in having

governmental agencies abide by the federal laws that govern their existence and

operations.” League of Women Voters, 838 F.3d at 12 (citation omitted). Further, the

Tribe can “‘have no vested interest in an illegal business activity’ and any loss of

income from an illegal activity is not an irreparable harm.” See United States v. RX

Depot, Inc., 297 F. Supp. 2d 1306, 1310 (N.D. Okla. 2003). Interior might cloak its

decisions in the guise of promoting tribal revenue, “[b]ut our system does not permit

agencies to act unlawfully even in pursuit of desirable ends.” Alabama Ass’n of

Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2490 (2021).




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                                  CONCLUSION

      Appellees respectfully request that this Court stay issuance of the mandate

pending resolution of Appellees’ anticipated petition for a writ of certiorari with the

U.S. Supreme Court. Alternatively, Appellees request that the Court stay the

mandate for a sufficient period of time to permit Appellees to apply for a stay of the

mandate from the Supreme Court.

September 15, 2023

                                           Respectfully submitted,

                                           By: /s/ Hamish P.M. Hume
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      I hereby certify that on September 15, 2023, this document and all its

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Dated: September 15, 2023

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